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                                                                                    2022 Jun-07 AM 11:29
                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

BETH BOYANTON,                             )
individually,                              )
                                           )
      Plaintiff,                           )
                                           )
v.                                         )    CASE NO. _____________________
                                           )
PPD PROPERTIES, LLC, a                     )
domestic limited liability company,        )
                                           )
      Defendant.                           )

                                    COMPLAINT

       Plaintiff, Beth Boyanton (hereinafter “Plaintiff” and/or “Ms. Boyanton”)

hereby sues Defendant, PPD Properties, LLC, a domestic limited liability company

(hereinafter “Defendant”), for injunctive relief, attorneys’ fees, litigation expenses,

and costs pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12101, et seq.

(hereinafter “ADA”), and the ADA Accessibility Guidelines, 28 C.F.R. Part 36

(hereinafter “ADAAG”). In support thereof, Plaintiff respectfully shows unto this

Court as follows:

                           JURISDICTION AND VENUE

      1.       This is an action for declaratory and injunctive relief pursuant to Title

III of the ADA. This Court is vested with original jurisdiction over the subject matter




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of this action pursuant to 28 U.S.C. §§§ 1331, 1343(a)(3) and 1343(a)(4) for

violations of Title III of the ADA.

       2.       Venue is properly located in the Northern District of Alabama pursuant

to 28 U.S.C. § 1391(b) based on the fact that the real property that is the subject of

this action is located in this district and all events giving rise to this lawsuit occurred

in this judicial district.

                                       PARTIES

       3.       Plaintiff, Beth Boyanton, is an independent, of age, Alabama resident

with a mobility disability that requires her to use a wheelchair for mobility.

Plaintiff’s condition constitutes a physical impairment which impacts and

substantially limits the major life activity of walking. Therefore, Ms. Boyanton

qualifies as an “individual with disabilities” as defined by the ADA.

       4.       In addition to self-advocacy, Ms. Boyanton is also an independent

advocate for the rights of similarly situated disabled persons and is a “tester” for the

purpose of enforcing her civil rights, monitoring, determining, and uncovering

discriminatory barriers to equal access for the purpose of ensuring the accessibility

of public accommodations for wheelchair users such as herself as mandated by the

ADA. Ms. Boyanton’s motivation to return to a specific location stems, in part, from

her desire to utilize ADA litigation to make areas that she frequents more accessible

for herself and others. Having filed this lawsuit, Ms. Boyanton will hereafter


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regularly and frequently perform visual inspections of the subject property with the

intent to enter, shop and evaluate the site when/if it is repaired and made accessible

to wheelchair users as required by the ADA.

       5.       Defendant, PPD Properties, LLC, is a domestic limited liability

company registered to do business, and is doing business, in the State of Alabama

and within this judicial district.

       6.       Defendant is the owner, landlord, and lessor and/or operator, tenant, or

lessee of the real property and improvements which is the subject of this action.

Specifically, Defendant owns and/or operates the Citgo gas station and convenience

store located at 439 Decatur Highway, Gardendale, Alabama, 35071, its attendant

facilities, including vehicular parking and exterior paths of travel within the parcel.

The subject premises is identified by Jefferson County Assessor’s office as Parcel

No. 14-00-24-2-001-003.000 (hereinafter the “Subject Property” and/or “Subject

Facility” and/or “Subject Premises”).

                                         FACTS

       7.       The parking facilities, accessible paths of travel, and entrance/exit

doors are each examples of the services, facilities, privileges, advantages, and

opportunities offered to able-bodied patrons of Defendant’s Subject Property.

       8.       Ms. Boyanton resides in Jefferson County, Alabama and only a short

distance from the offending Defendant’s property location.


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      9.       Prior to and in May 2022 and continuously from that time to the present,

the Subject Property has failed to comply with the ADA and its implementing

regulations.

      10.      A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Subject Property and prevented her full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Subject Property include, but are not limited to:

                           ACCESSIBLE PARKING

      a.       There is no visible upright signage (displaying the
               International Symbol of Accessibility) designating any
               parking spaces as accessible in violation of Section 4.6 of
               the 1991 ADAAG and Section 502 of the 2010 ADAAG.
               This violation made it dangerous for Plaintiff to utilize the
               parking facility at the Subject Property and caused
               Plaintiff to suffer feelings of isolation, social exclusion,
               and loss of opportunity.

      b.       No accessible parking spaces or access aisles are provided,
               or alternatively, the paint striping and upright signage that
               once delineated and identified the accessible parking space
               and access aisle has not been maintained so that it clearly
               marks the location of accessible parking for wheelchair
               users because of Defendant’s practice of failing to
               maintain the accessible parking surface and upright
               signage in violation of 28 C.F.R. § 36.211, Section 4.6 of
               the 1991 ADAAG, and Section 502.3.3 of the 2010
               ADAAG. This violation made it dangerous for Plaintiff to
               utilize the parking facility at the Subject Property and



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         caused Plaintiff to suffer feelings of isolation, social
         exclusion, and loss of opportunity.

c.       The parking spaces with the shortest path of travel to the
         public entrances are not level in all directions and have
         areas of uneven and/or broken pavement because of
         Defendant’s practice of failing to inspect and maintain the
         accessible parking surface in violation of 28 C.F.R. §
         36.211, Sections 4.5.1 and 4.6.3 of the 1991 ADAAG and
         Sections 302 and 502.4 of the 2010 ADAAG. These
         violations made it dangerous for Plaintiff to utilize the
         parking facility at the Subject Property and caused
         Plaintiff to suffer feelings of isolation, social exclusion,
         and loss of opportunity.

                      ACCESSIBLE ROUTES
                           (Exterior)

d.       The paths of travel from the parking facilities to the
         accessible entrance requires wheelchair users to enter an
         unmarked crossing through a vehicular traffic lane. This
         dangerous condition is maintained by Defendant in
         contravention of Section 4.3 of the 1991 ADAAG and
         Section 502.3 of the 2010 ADAAG. This violation made
         it dangerous for Plaintiff to access the Subject Facility and
         caused Plaintiff to suffer feelings of isolation, social
         exclusion, and loss of opportunity.

e.       There are vertical transitions in the pavement within the
         accessible routes from the parking facilities to the
         accessible entrance which exceed ¼ inches and are
         unbeveled due to the defendant’s failure to maintain said
         pavement as it ages violating 28 CFR § 36.211, Section
         4.3.8 of the 1991 ADAAG, and Section 406.2 of the 2010
         ADAAG. This violation made it dangerous for Plaintiff to
         access the Subject Facility and caused Plaintiff to suffer
         feelings of isolation, social exclusion, and loss of
         opportunity.


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                    ACCESSIBLE ENTRANCE

f.       The public entrance doors have closers that close too
         quickly. Violation: The sweep speed settings of the door
         closers for the entrance doors have not been maintained
         properly by Defendant which has caused the doors’
         closing speeds to increase with time and use so that the
         time allowed to transition the door, from an open position
         of 90 degrees to a position of 12 degrees from the latch, is
         too brief to allow individuals with mobility impairments
         to enter and/or exit safely, independently and/or without
         difficulty, in violation of Section 4.13.10 of the 1991
         ADAAG and Section 404.2.8 of the 2010 ADAAG. This
         accessible feature is not being maintained by Defendant in
         violation of 28 C.F.R. § 36.211. These violations
         prevented equal access to Plaintiff and caused Plaintiff to
         suffer feelings of isolation, social exclusion, and loss of
         opportunity.

                      ACCESSIBLE ROUTES
                           (Interior)

g.       The interior paths of travel consist of aisles within the
         convenience store with multiple slopes which grossly
         exceed 1:20 (5%) yet do not comply with the requirements
         for ramps set forth in Sections 4.8 and 4.3.7 of the 1991
         ADAAG and Section 403.3 of the 2010 ADAAG. These
         violations made it dangerous for Plaintiff to utilize the
         paths of travel within the store to the Subject Facility and
         in so doing caused Plaintiff to suffer feelings of isolation,
         social exclusion, and loss of opportunity.

h.       There are insufficient clear widths between aisles and turn
         arounds at the end of aisles caused by merchandise
         routinely placed and maintained in such a way as to
         consistently block equal access to the interior paths of
         travel for wheelchair users. The interior accessible routes
         between the shopping floor interior aisles and the
         shopping floor perimeter aisles/refrigerated coolers fail to


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         meet the minimum maneuverability clearance
         requirements for accessible routes in violation of Section
         4.3.3 of the 1991 ADAAG and Section 403.5 of the 2010
         ADAAG. These routes are accessible features not being
         maintained by Defendant in violation of 28 C.F.R. §
         36.211. These violations prevented equal access to
         Plaintiff and caused Plaintiff to suffer feelings of isolation,
         social exclusion, and loss of opportunity.

             ACCESS TO GOODS AND SERVICES
                        (Interior)

i.       The plaintiff could not access the ATM independently or
         with the same degree of privacy of input and output
         because the position of its operable parts, screen, and PIN
         keypad are too high in violation of Section 4.2.5 and 4.2.6
         of the 1991 ADAAG and Sections 308, 309 and 707.3 of
         the 2010 ADAAG. This violation prevented access to the
         plaintiff equal to that of Defendant’s able-bodied
         customers causing Plaintiff to suffer feelings of isolation,
         social exclusion, and loss of opportunity.

                  MAINTENANCE PRACTICES

j.       Defendant has a practice of failing to maintain the
         accessible features of its facility, creating barriers to equal
         access for Plaintiff, as set forth herein, in violation of 28
         C.F.R. § 36.211. This practice prevented access to Plaintiff
         equal to that of Defendant’s able-bodied customers
         causing Plaintiff to suffer feelings of isolation, social
         exclusion, and loss of opportunity.

k.       Defendant has a practice of failing to maintain the
         accessible elements at the Subject Facility by neglecting
         its continuing duty to review, inspect, and discover
         transient accessible elements which by the nature of their
         design or placement, frequency of usage, passage of time,
         exposure to weather and/or other factors, are prone to shift
         from compliant to noncompliant so that said elements may


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               be discovered and remediated. Defendant has failed, and
               continues to fail, to alter its inadequate maintenance
               practices to prevent future recurrence of noncompliance
               with its dynamic accessible elements in violation of 28
               C.F.R. § 36.211, the 1991 ADAAG, and the 2010
               ADAAG. These violations made it impossible for Plaintiff
               to experience the same access to the goods, services,
               facilities, privileges, advantages and accommodations of
               the Subject Facility as Defendant’s able-bodied patrons
               and caused Plaintiff to suffer feelings of isolation, social
               exclusion, and loss of opportunity.

      l.       Defendant has failed to modify its discriminatory
               maintenance practices to ensure that, pursuant to its
               continuing duty under the ADA, the Subject Property
               remains readily accessible to and usable by disabled
               individuals, including Plaintiff, as set forth herein, in
               violation of 28 C.F.R. § 36.302 and 36.211. This failure
               by Defendant prevented access to Plaintiff equal to that of
               Defendant’s able-bodied customers causing Plaintiff to
               suffer feelings of isolation, social exclusion, and loss of
               opportunity.

      11.      The discriminatory violations described above are not an exhaustive list

of Defendant’s current barriers to equal access and violations of the ADA because

Plaintiff was unable to access and assess all areas of the Subject Premises herself

due to the architectural barriers present and encountered. A complete list of the

Subject Property’s ADA violations affecting Plaintiff as a wheelchair user, and the

remedial measures necessary to remove same, will require an on-site inspection by

Plaintiff’s representatives pursuant to Federal Rule of Civil Procedure 34. Once

Plaintiff personally encounters discrimination, as alleged herein, or learns of



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discriminatory violations through expert findings of personal observation, she has

actual notice that Defendant does not intend to comply with the ADA.

      12.    Defendant’s architectural barriers fail to meet the minimum

requirements of the 1991 ADAAG, and the 2010 ADAAG, as adopted by the U.S.

Department of Justice. In instances where the 2010 ADAAG standards do not apply,

the 1991 ADAAG standards apply, and the alleged violations set forth herein can be

modified by Defendant to comply with the 1991 ADAAG standards.

      13.    Ms. Boyanton personally encountered, engaged and/or observed, or

was deterred from engaging, one and/or all of the barriers described above on

numerous prior occasions and most recently in May 2022. In engaging the barriers

where she could judiciously do so and observing those which were visible where she

could not, Plaintiff suffered legal harm and legal injury by being denied equal access

and use of the Subject Property’s products and services. She will continue to suffer

such harm and injury as a result of the barriers to equal access and ADA violations

that persist at Defendant’s gas station and convenience store until the violations are

corrected.

      14.    Plaintiff’s access to the Subject Property and/or her full and equal

enjoyment of the goods, services, facilities, privileges, advantages and/or

accommodations offered therein were denied and/or limited strictly because of Ms.

Boyanton’s disabilities. She will continue to be denied and/or limited in the future


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unless Defendant is compelled to remove the physical barriers to access and correct

the ADA violations that are noted and described in this Complaint.

      15.    Plaintiff has visited and/or been deterred from visiting the Subject

Property on multiple prior occasions, most recently in May 2022. Having now filed

suit, Plaintiff intends to perform visual inspections of the Subject Property when she

is in the area of the facility, which occurs frequently. Ms. Boyanton intends to enter

the gas station and convenience store as soon as the barriers to access and ADA

violations detailed in this Complaint are removed.

      16.    Plaintiff intends on revisiting the Subject Property to enjoy the same

opportunities, goods, and services available to Defendant’s non-disabled patrons and

she will visually inspect the Subject Property as a tester, but will not continue to

repeatedly re-expose herself to the ongoing barriers to equal access and engage in

the futile gesture of attempting to enter the gas station and convenience store, a

business of public accommodation, known to Plaintiff to have numerous and

continuing ADA violations and unsafe barriers to equal access for wheelchair users.

                                     COUNT I

      17.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993, at that time, if a defendant had 10 or fewer employees and gross

receipts of $500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).




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      18.    The Subject Property is a public accommodation and service

establishment as defined by the ADA. 42 U.S.C. § 12181.

      19.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      20.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993—see above). 42 U.S.C. § 12181 et seq.;

28 C.F.R. § 36.508(a).

      21.    The Subject Property must be, but it is not, in compliance with the ADA

and the ADAAG.

      22.    Plaintiff has attempted to, and has to the extent possible, access the

Subject Property but could not fully do so because of her disabilities and the physical

barriers to access, dangerous conditions and ADA violations that are allowed to exist

at Defendant’s Subject Property. These illegal conditions preclude and/or limit Ms.

Boyanton’s safe and equal access to the goods, services, facilities, privileges,

advantages and/or accommodations offered therein. These barriers, conditions and

ADA violations are specifically set forth in this Complaint.

      23.    Plaintiff intends to visit the Subject Property again in the very near

future, but within the next 90 days or sooner, and with the same frequency thereafter

for civil rights “tester” purposes, but also with the desire to gain equal access to and


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be able to have the opportunity to utilize the goods, services, facilities, privileges,

advantages and/or accommodations commonly offered at the Subject Property, but

will be unable to fully do so because of her disability and the physical barriers to

access, dangerous conditions and ADA violations that exist at the Subject Property

that preclude and/or limit her access to the Subject Property and/or the goods,

services, facilities, privileges, advantages and/or accommodations offered therein,

including those barriers, conditions and ADA violations specifically set forth in this

Complaint.

      24.    Defendant has discriminated against Plaintiff (and others with mobility

disabilities) by denying her access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Subject

Property, as prohibited by, and by failing to remove architectural barriers as required

by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      25.    Defendant will continue to discriminate against Plaintiff (and others

with mobility disabilities) unless and until it is compelled to remove all physical

barriers to equal access and the other ADA violations that exist at the Subject

Property, including those specifically set forth herein, thereby making the Subject

Property accessible to and usable by Plaintiff and other wheelchair users.

      26.    Removal of those barriers to equal access, dangerous conditions, and

ADA violations that were constructed prior to January 26, 1992, is readily


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achievable and can be accomplished and carried out without much difficulty or

expense to this Defendant. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9);

28 C.F.R. § 36.304.

        27.   Removal of the physical barriers and dangerous conditions at the

Subject Property is readily achievable, in part, because of the relative low cost of the

necessary modifications and the fact that Defendant has the financial resources to

make such modifications, even if only taking into account the annual $5,000.00 tax

credit and $15,000.00 tax deduction ($20,000.00 every year) made available to

Defendant by the government pursuant to Section 44 and Section 190 of the IRS

Code.

        28.   By continuing to operate the Subject Premises with discriminatory

conditions in violation of the ADA, Defendant contributes to Plaintiff’s sense of

isolation and segregation and deprives Plaintiff of the full and equal enjoyment of

the goods, services, facilities, privileges, and accommodations available to able-

bodied individuals of the general public.

        29.   Defendant is required to remove the existing architectural barriers to

the physically disabled when such removal is readily achievable for its places of

public accommodation that have existed prior to January 26, 1992, 28 C.F.R.

36.304(a); additionally, if there has been an alteration to Defendant’s place of public

accommodation since January 26, 1992, then Defendant is required to ensure to the


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maximum extent feasible, that the altered portions of the facility are readily

accessible to and usable by individuals with disabilities, including people who use

wheelchairs, 28 C.F.R. § 36.402. Finally, if Defendant’s facilities were designed and

constructed for first occupancy subsequent to January 26, 1993, as defined in 28

C.F.R. § 36.401, then Defendant’s facilities must be readily accessible to and useable

by individuals with disabilities as defined by the ADA. To date, Defendant has failed

to comply with this mandate.

      30.    Plaintiff is without adequate remedy at law and is suffering irreparable

harm and reasonably anticipates that she will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Subject Property, including those

alleged herein. Considering the balance of hardships between Plaintiff and

Defendant, a remedy in equity is warranted.

      31.    Plaintiff’s requested relief serves the public interest.

      32.    Plaintiff’s counsel is entitled to recover its reasonable attorneys’ fees

and costs of litigation, including expert fees, from Defendant pursuant to 42 U.S.C.

§§ 12188, 12205 and 28 C.F.R. § 36.505. Plaintiff will be denied full and equal

access to the Subject Premises as provided by the ADA unless the injunctive relief

requested herein is granted.




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      33.    Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority

to grant Plaintiff injunctive relief; including, but not limited to, an Order to alter the

Subject Facility to make it readily accessible to, and useable by, individuals with

disabilities to the extent required by the ADA, an Order closing the Subject Facility

until the requisite modifications are completed, and an Order directing Defendant to

fulfill its continuing duty to maintain the accessible features at the Subject Premises

in the future as mandated by 28 C.F.R. § 36.211.

      WHEREFORE, Plaintiff prays as follows:

      A.     That the Court find Defendant in violation of the ADA and
             ADAAG;

      B.     That the Court enter an Order requiring Defendant to (i) remove
             the physical barriers to equal access and (ii) alter the Subject
             Property to make it readily accessible to and useable by
             individuals with disabilities to the full extent required by Title III
             of the ADA;

      C.     That the Court enter an Order directing Defendant, pursuant to
             28 C.F.R. § 36.211, to fulfill its continuing duty to maintain and
             repair its accessible features and equipment in the future so that
             its property remains accessible to and useable by individuals with
             disabilities in the future, to the full extent required by Title III of
             the ADA;

      D.     That the Court enter an Order directing Defendant to implement
             and carry out effective policies, practices, and procedures to
             maintain and repair its accessible features and equipment in the
             future pursuant to 28 C.F.R. § 36.302 and 28 C.F.R. § 36.211.

      E.     That the Court enter an Order directing Defendant to evaluate
             and neutralize its policies, practices and procedures towards

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      persons with disabilities for such reasonable time so as to allow
      it to undertake and complete corrective activity;

F.    That the Court award attorneys’ fees, costs (including expert
      fees), and litigation expenses pursuant to 42 U.S.C. § 12205;

G.    That the Court award interest upon the original sums of said
      award of attorneys’ fees, costs (including expert fees), and other
      expenses of suit; and

H.    That the Court award such other relief as the Court deems just
      and proper, and/or is allowable, under Title III of the Americans
      with Disabilities Act.

Respectfully submitted, this the 7th day of June, 2022.

                            By:    s/Andrew J. Smithart III_______________
                                  Andrew J. Smithart III (ASB-4991-T82A)
                                  Attorney for Plaintiff
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                            By: s/John Allen Fulmer II_________________
                                John Allen Fulmer II (ASB-1089-O42F)
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